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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   ) Case No. 1:21-cr-35-RC
                                                   )
                        v.                         )
                                                   )
 MASON COURSON, et al.,                            )
                                                   )
        Defendants.                                )
                                                   )

    UNOPPOSED MOTION BY MASON COURSON TO CONTINUE SENTENCING
                            HEARING

       Mason Courson’s sentencing hearing is currently scheduled for April 14, 2023.

Sentencing memoranda are due April 4.

       Courson’s counsel is currently in trial in United States v. Nordean, et al., 21-cr-175-TJK.

Trial has lasted longer than the parties had anticipated. Counsel believes that trial may not

conclude by April 4. At the same time, counsel needs time to meet and confer with Courson

prior to the sentencing hearing in this case. Courson is being held in Lewisburg, Pennsylvania.

       Accordingly, Courson moves the Court to continue the sentencing hearing to May 3 or

May 4. If those dates do not work, Courson requests sometime during or after the week of May

15. The government does not oppose this motion. May 3 and 4 work for the government.

Dated: March 23, 2023                                Respectfully submitted,


                                                     /s/ Nicholas D. Smith
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                                     Certificate of Service

       I hereby certify that on the 23rd day of March, 2023, I filed the foregoing motion with the

Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF) to

the following CM/ECF user(s): Counsel of record.

       And I hereby certify that I have mailed the document by United States mail, first class

postage prepaid, to the following non-CM/ECF participant(s), addressed as follows: [none].


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